IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

STATE OF MARYLAND, et al., *
Plaintiffs, &
Vv. * CIVIL NO. JKB-25-0748

UNITED STATES DEPARTMENT OF a
AGRICULTURE, et al.,

Defendants.

* * * * * * * * * * * *

MEMORANDUM AND ORDER

Pending before the Court is Plaintiff States’ Motion to Extend Temporary Restraining
Order. (ECF No. 85.) The Court entered a Temporary Restraining Order (“TRO”) in this case on
March 13, 2025, which had been set to expire on Thursday, March 27, 2025, at 8:00 p.m. EDT.
(ECF No. 44.) As described below, the Court concludes that there is good cause to extend the
TRO for a brief period. The TRO will be extended to Tuesday, April 1, 2025, at 8:00 p.m. EDT.

Federal Rule of Civil Procedure 65(b)(2) provides that a TRO “expires at the time after
entry—not to exceed 14 days—that the court sets, unless before that time the court, for good cause,
extends it for a like period or the adverse party consents to a longer extension. The reasons for an

extension must be entered in the record.”

Although there is little case law on what constitutes “good cause,” “a showing that
the grounds for originally granting the [TRO] continue to exist” is sufficient,
Wright & Miller, 11A Fed. Prac. & Proc. Civ. § 2953 (3d ed. Apr. 2020 Update),
and courts have also found “good cause” where more time is needed fully to
consider the parties’ arguments and motions or “where the moving party need[s]
additional time to prepare and present its preliminary injunction,” SEC vy.
Arisebank, Civ. No. 18-186, 2018 WL 10419828 at *1 (N.D. Tex. Mar. 9, 2018)

(collecting cases).

Costa y. Bazron, Civ. No. RDM-19-3185, 2020 WL 2410502, at *2 (D.D.C. May 11, 2020).
The Court concludes that there is good cause for a brief, five-day extension of the TRO.
On March 20, 2025, Plaintiff States filed a Motion for a Section 705 Stay and Preliminary
Injunction (“Preliminary Injunction Motion”). (ECF No. 78.) The Government filed its Response
in Opposition on March 24, 2025. (ECF No. 101.) The Court held a Hearing on the Preliminary
Injunction Motion today, March 26, 2025. During the Hearing, it became apparent that there were
important issues that had not been fully addressed in the parties’ briefs, and accordingly the Court
ordered—and the parties agreed to submit—additional briefing, due tomorrow, March 27, 2025.
The Court appreciate the parties’ speed in submitting these and prior presentations, and the Court
is working diligently to resolve this matter as expeditiously as possible. That said, given the
complex issues presented by this case and the condensed timing of argument and briefing, the
Court requires time to fully consider the parties’ positions and to prepare its memorandum and
accompanying order. It is the Court’s expectation that it will issue its ruling on the Preliminary
Injunction Motion within this five-day time period.

Accordingly, it is ORDERED that:

1. Plaintiff States’ Motion to Extend Temporary Restraining Order (ECF No. 85) is

GRANTED.
2. For good cause found, the TRO (ECF No. 44) is EXTENDED for five additional days,

and SHALL EXPIRE on Tuesday, April 1, 2025, at 8:00 p.m. EDT.

DATED this 2© day of March, 2025.

BY THE COURT:

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James K. Bredar
United States District Judge

